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JOHN R. REMIS, JR., #4593
P. O. Box 38112
Honolulu, Hawai‘i 96837
Telephone: (808) 524-4343
Facsimile: (888) 502-9102
E-Mail: JRRHNL@aol.com

ROBERT D. EHELER, Jr., #5786
Pauahi Tower at Bishop Square
1003 Bishop Street, Suite 2700
Honolulu, Hawai‘i 96813
Telephone: (808) 531-9957
Facsimile: (866) 612-9956
E-Mail: rdelawoffice@gmail.com

Attorneys for Defendants
ABNER GAURINO, AURORA GAURINO
and ABIGAIL GAURINO

               IN THE UNITED STATES DISTRICT COURT

                    FOR THE DISTRICT OF HAWAI‘I

ATOOI ALOHA, LLC, an[sic] Nevada )         Civil No. 16-00347 JMS - RLP
Limited Liability Company, CRAIG B. )
STANLEY, as TRUSTEE for THE         )      DEFENDANT ABNER
EDMON KELLER AND CLEAVETTE )               GAURINO, AURORA
MAE STANLEY FAMILY TRUST;           )      GAURINO AND ABIGAIL
CRAIG B. STANLEY, individually;     )      GAURINO’S STATEMENT OF
MILLICENT ANDRADE, individually, )         NO OPPOSITION TO
                                    )      PLAINTIFFS AND THIRD
                   Plaintiffs,      )      PARTY CROSS-CLAIM
                                    )      DEFENDANTS ATOOI ALOHA,
            vs.                     )      LLC, CRAIG B. STANLEY AS
                                    )      TRUSTEE FOR THE EDMON
ABNER GAURINO, AURORA               )      KELLER AND CLEAVETTE
GAURINO, ABIGAIL GAURINO,           )      MAE STANLEY TRUST, CRAIG
INVESTORS FUNDING                   )      B. STANLEY and MILLICENT
CORPORATION, as Trustee for an      )      ANDRADE’S AMENDED
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unrecorded Loan Participation         )    MOTION TO WITHDRAW AS
Agreement dated June 30, 2014;        )    COUNSEL FOR PLAINTIFFS
APT-320, LLC, a Hawai‘i Limited       )    AND THIRD PARTY CROSS-
Liability Company, CRISTETA C.        )    CLAIM DEFENDANTS [264];
OWAN, an individual; ROMMEL           )    CERTIFICATE OF SERVICE
GUZMAN; FIDELITY NATIONAL             )
TITLE & ESCROW OF HAWAI‘I and         )    Non-Hearing Motion
DOES 1-100 Inclusive,                 )
                                      )
                  Defendants.         )
                                      )
APT-320, LLC, a Hawai‘i Limited       )
Liability Company, Third-Party        )
Plaintiff,                            )
                                      )
        vs.                           )
                                      )
APARTMENT OWNERS OF                   )
DIAMOND HEAD SANDS,                   )
                                      )
        Third-Party Defendant.        )
                                      )




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                DEFENDANTS ABNER GAURINO,
          AURORA GAURINO AND ABIGAIL GAURINO’S
    STATEMENT OF NO OPPOSITIONTO PLAINTIFFS AND THIRD
 PARTY CROSS-CLAIM DEFENDANTS ATOOI ALOHA, LLC, CRAIG B.
 STANLEY AS TRUSTEE FOR THE EDMON KELLER AND CLEAVETTE
     MAE STANLEY TRUST, CRAIG B. STANLEY and MILLICENT
 ANDRADE’S AMENDED MOTION TO WITHDRAW AS COUNSEL FOR
  PLAINTIFFS AND THIRD PARTY CROSS-CLAIM DEFENDANTS [264]

      Come now Defendants, Abner Gaurino, Aurora Gaurino and Abigail
Gaurino, by and through their attorneys, John R. Remis, Jr. and Robert D. Eheler,
Jr., and hereby submit their Statement of No Opposition to Plaintiffs and Third
Party Cross-Claim Defendants Atooi Aloha, LLC, Craig B. Stanley as Trustee for
the Edmon Keller and Cleavette Mae Stanley Trust, Craig B. Stanley and Millicent
Andrade’s Amended Motion to Withdraw as Counsel for Plaintiffs and Third Party
Cross-claim Defendants [264].
      DATED: Honolulu, Hawai‘i, March 23, 2018.




                                              /S/ JOHN R. REMIS, JR.
                                              JOHN R. REMIS, JR.
                                              ROBERT D. EHELER, JR.
                                              Attorneys for Gaurino Defendants




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                          CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that a copy of the foregoing Statement of No
Opposition Plaintiffs and Third Party Cross-Claim Defendants Atooi Aloha, LLC,
Craig B. Stanley as Trustee for the Edmon Keller and Cleavette Mae Stanley
Trust, Craig B. Stanley and Millicent Andrade’s Amended Motion to Withdraw as
Counsel for Plaintiffs and Third Party Cross-claim Defendants [264] via CM/ECF.
TO:

CHARLES A. PRICE, Esq.
cprice@koshibalaw.com

WILLIAM J. PLUM, Esq.
wplum@plumlaw.com

Attorneys for Defendant APT-320, LLC

DENNIS W. CHONG KEE, Esq.
W. KEONI SHULTZ, Esq.
CHRISTOPHER T. GOODIN, Esq.
dchongkee@cades.com
wshultz@cades.com
cgoodin@cades.com

LAWRENCE C. ECOFF, Esq.
ALBERTO J. CAMPAIN, Esq.
GINNI G. KIM, Esq.
ecoff@ecofflaw.com
campain@ecofflaw.com
kim@ecofflaw.com

Attorney for Plaintiffs
ATOOI ALOHA, LLC; CRAIG STANLEY,
as Trustee for The Edmon Keller and
Cleavette Mae Stanley Family Trust;
CRAIG B. STANLEY, Individually;

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and MILLICENT ANDRADE, Individually

WAYNE P. NASSER, Esq.
FRANCIS P. HOGAN, Esq.
wnasser@awlaw.com
fhogan@awlaw.com
Attorneys for Defendants
ROMMEL GUZMAN and
FIDELITY NATIONAL
TITLE & ESCROW OF
HAWAI‘I

THOMAS D. YANO, Esq.
thomasdyano@gmail.com
Attorney for Defendant CRISTETA C. OWAN

PAMELA J. SCHELL, Esq.
pschell@alf-hawaii.com
Attorney for Third-Party Defendant
APARTMENT OWNERS OF DIAMOND HEAD SANDS

      DATED: Honolulu, Hawai‘i , March 23, 2018.


                                   /s/ John R. Remis, Jr.
                                   JOHN R. REMIS, JR.
                                   ROBERT D. EHELER, JR.
                                   Attorneys for Gaurino Defendants




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